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                                                   UNITED STATES DISTRICT COURT                                                           FILED
                                                                               for tue                                            October 25, 2021
                                                                                                                                CLERK, U.S. DISTRICT COURT
                                                                     Western District of Texas                                  WESTERN DISTRICT OF TEXAS

                    United States of America                                      )                                       BY:        Veronica Medina
                                v.                                                                                                                  DEPUTY
                                                                                  )
              Edgar Orlando Villasenor-Sanchez                                            CaseNo.pz)              1flJ2                       ;)
                                                                                                                                                    L
                                                                                 )

                          -   ........


                                         Defendant(s)


                                                               CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best                of my knowledge and belief.
 On or about the date(s)                  of               October 17, 2021              in the county of          El PaSO                         in the
        Western           District of                        Texas            the defendant(s) violated:
              Code Section                                                                  Offense Description
 18 USC 1201                                                  Kidnapping




          This criminal complaint is based on these facts:
See Attached Affidavit




           J' Continued on the attached sheet.



                                                                                                 /                          s(gnat

                                                                                                            Joey Rodriguez
                                                                                                           /rj,,frd name and title
Sworn to before me and signed in my presence.


Date:         10/25/2021
                                                                                                             Judge   c   signature

City and state:                                     El   Paso. Texas                     Leon Schydlower, US Magistrate Judge
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                                                                  Fed.R.Crim.P.4.1(b)(2)(A)
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         On October 17, 2021, at approximately 0418 hours, Dona Ana County
                                                                           Sheriffs Office
 (DASO) Criminal Investigators were dispatched to a house on West Union
                                                                        Ave in Las Cruces,
 New Mexico regarding the kidnapping of a female United States Citizen, here in
                                                                                after referred to
 as the "Victim".


        DASO Investigators interviewed the Victim's husband who stated on October 16, 2021,

 at approximately 2000 hours, he received a phone call from his mother, who stated a female

identified as Guadalupe Caro "Lupe" arrived at her residence on West Union Avenue looking for

him. The Victim's husband said that his mother informed him that Caro stated "people" were

looking for him related to the $80,000 dollars for two kilograms of cocaine.

        The Victim's husband stated he returned to West Union Ave. at approximately 2130

hours, and shortly after Caro returned to the West Union Ave. with another unknown male and

female. The Victim' husband stated that Caro came to the door wanting to talk to him, but he

told her to leave.

        The Victim's husband stated that on October 17, 2021, at approximately 0000 hours, the

Victim returned to West Union from their apartment. The Victim's husband stated that Victim

informed him that Joel Ceneseros, Caro's son, had shown up at their apartment earlier in the

evening stating that he needed help and was going to be killed and chopped up.

       The Victim's husband stated that at approximately 0330 hours, he was packing boxes

with the Victim in the bedroom when he heard his mother state there was a vehicle parked in the

driveway. The Victim's husband stated that his brother went outside and confronted a person at

the front yard. The Victim's husband stated that he heard his brother yell someone has a gun and

observed an unknown young skinny Hispanic male, dressed in all black, break the window with
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 a shotgun. The Victim's husband stated that he ran towards his
                                                                mother's bedroom with the
 Victim.

           The Victim's husband stated that he hid in his mother's closet when he heard
                                                                                        a gunshot
 and observed the Victim hide with his mother behind the bed.


        The Victim's husband stated he observed a second older Hispanic male enter the

 bedroom holding a black handgun and observed him grab the Victim and take her out of the

room. The Victim's husband stated that he then heard a second gunshot.

        The Victim's husband stated the males took the Victim to a vehicle and heard a vehicle

leave the residence. The Victim's husband stated he heard the males mention "Soda" [soda is a

common street term utilized to reference cocaine] and heard them asking where it was. The

Victim's husband stated he used to be friends with Joel Ceneseros and knows his mother and him

are involved in criminal activity including drugs and human smuggling. The Victim's husband

stated Ceneseros and Caro live at a residence at 101 West Savannah Road in La Mesa, New

Mexico. While being interviewed, the Victim's husband received a phone call from an unknown

male which reflected a Mexican phone number. The male asked if he bad the "stuff' and told

him the Victim was safe.

        DASO Investigators then interviewed the husband's brother, regarding the events that

took place.

        The husband's brother stated that on October 16, 2021, at around 1900 hours, Guadalupe

Caro came to his mother's house at West Union Aye, wanting to speak with his mother. The

husband's brother stated he overheard a conversation between them about Joel Ceneseros and

$80,000 dollars. Caro left the house shortly thereafter.
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            The husband's brother stated that at approximately 2130 hours, his
                                                                               brother arrived at the
 residence and around 0000 hours the Victim arrived at the residence. The
                                                                          husband's brother
 stated that around 0330 hours he observed a Chevrolet SlO park in the driveway
                                                                                and another
 compact car park on the shoulder of the roadway.

           The husband's brother stated that he exited the residence and confronted a male standing

outside who immediately confronted him by pulling out a shotgun. The husband's brother
                                                                                       stated
he ran inside the house where he locked the door at which time the male attempted kick the door

back open.

           The husband's brother stated the male proceeded to break a glass window on the door

and pointed a shotgun towards his direction. The husband's brother stated the male backed away

after failing to get the door open and another male approached the door.

           The husband's brother stated the second unknown male shot the front door handle with a

shotgun causing the door to open. The husband's brother stated he ran out the back door and

observed the male enter the residence and head towards the bedrooms. The husband's brother

stated he heard the male asking for "Soda" and observed the male take the Victim out of the

residence by force while she was yelling, she "didn't have it." The husband's brother stated he

observed both vehicles leave eastbound on West Union Ave.

           At approximately 0500 hours, DASO units were dispatched to 101 West Savannah Road,

in La Mesa, New Mexico which is the residence of Joel Ceneseros and Guadalupe Caro. DASO

Deputies secured the residence and observed multiple subjects inside the residence who refused

to exit.
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        While on scene, DASO Deputies observed a gold in color, Mazda sedan
                                                                            with a broken
 rear window approach the residence. DASO Deputies made contact with
                                                                     the occupants and
 identified them as Guadalupe Caro and Enrique Lucero. Both stated that they lived at the

residence and explained they were coming back from El Paso, Texas.

        A short while later, the Victim's husband received a phone call from the Victim who

stated that she was in El Paso, Texas. DASO Deputies made contact with the El Paso Police

Department who picked up the Victim at a gas station in El Paso, Texas. The Victim was

transported to Las Cruces, New Mexico and interviewed by DASO Investigators.

        The Victim explained that on October 16, 2021, around 1930 hours, she was with her

husband at their apartment when he received a phone call from his mother. The mother told them

Guadalupe Caro was at her residence asking for the Victim's husband stating he took $80,000

dollars from people.

       The Victim stated they denied the accusation. The Victim stated shortly after the phone

call, both the Victim and the Victims husband got into a domestic where the police were called,

and therefor the Victims husband was transported to his mother's house. The Victim stated that

she remained at the apartment and that Guadalupe Caro's son Joel Ceneseros later arrived asking

to come inside her residence. The Victim stated that she didn't let him in the house. Joel

Ceneseros continued to tell the Victim he wanted to stay and he needed help because "people"

were looking for him and were going to kill him. The Victim stated that she refused him entry

into her apartment and left the apartment shortly thereafter. The Victim stated she went to West

Union Ave around 2200 hours to help pack more boxes with her husband.
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        The Victim stated around 0200 hours, she heard her husband's brother
                                                                             yelling someone
 had a gun at the front door. The Victim stated she heard a gunshot, so she ran
                                                                                into the bedroom
 with her husband and hid behind the bed with his mother.

        The Victim stated that a male came into the bedroom after hearing a second gunshot
                                                                                           and
 forced her outside the residence into an SUV. The Victim stated she saw two males and two

 females inside the SUV before they placed a bag over her head.

        The Victim stated they drove to a residence and sat her on a couch before removing the

bag from her face. The Victim stated when they removed the bag, she recognized the room as it

being the living room of Guadalupe Caro's residence. The Victim stated that she also observed

four females and four males in the room with her.

        The Victim stated that she observed that one of the females was Guadalupe Caro and she

was there with her husband Enrique Lucero, as well as a male subject she believed was dressed

in a Border Patrol Uniform. The Victim stated they were all talking in Spanish about "Soda" and

asking her "where is it." The Victim confirmed the house was located at 101 West Savannah




       The Victim stated she was there for about an hour, where the unidentified individuals

threatened her and repeatedly asked her for the "Soda". The Victim stated that the unidentified

individuals were taking orders from someone via video chat on their cell phones. Victim stated

that she was then taken into the bedroom, where a blanket or shirt was thrown over her head and

that her hands and feet were bound with tape. The Victim stated that a sock was placed in her

mouth and that a hood was then placed over her head. The Victim stated that she was then

thrown into a trunk of a vehicle, which had glass on the floor of the trunk. The Victim stated that
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 she was then driven to an apartment complex in El Paso, Texas
                                                               near the intersection of Valle
 Verde and Delta.

        The Victim stated that while in the car she broke free from the tape around
                                                                                    her feet and
 that when they arrived at the house, one of the males picked her up over his shoulder
                                                                                       and carried
her into the house. The Victim stated that once in the house, two males instructed her
                                                                                       to wait      5

minutes after they left and then she could leave. The Victim stated that she waited the 5 minutes

and then walked out and made her way to a gas station where she called her husband.


        The Victim stated she knows Guadalupe Caro and Joel Ceneseros are involved in

criminal activity including drugs and has been to Guadalupe Caro's residence multiple times in

the past.

        During the interview, it was noted that Victim had recent cuts and scrapes to her face and

arms that were barely scabbing over, as well as marks on her wrists and ankles indicating she had

been bound at one point.

        On October 17, 2021, DASO Investigators and HSI Special Agents interviewed

Guadalupe Caro who stated that on October 17, 2021, unknown Hispanic males and females

kidnapped Victim from her residence at West Union Aye, Las Cruces, New Mexico. Guadalupe

Caro stated that they transported the Victim to her residence at 101 West Savannah Road in La

Mesa, New Mexico where the other individuals interrogated Victim regarding the missing

cocaine. Guadalupe Caro stated that after a while they took the Victim into the bedroom where

they taped a shirt over the Victim's head, taped her hands, and taped her feet with gorilla tape.

Guadalupe Caro stated that the Victim was then placed in the trunk of Enrique Lucero's gold/tan

Mazda 626, which was the same vehicle they were encountered in by DASO Deputies coming

from El Paso, Texas.
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         Guadalupe Caro stated that Enrique Lucero and herself were instructed to drive the car to

 a house in El Paso, Texas, and that they were provided a house address on their phone to
                                                                                          guide
 them. Guadalupe Caro stated that the other individuals led and/or followed them to the residence

in El Paso, Texas in separate vehicles. Guadalupe Caro stated she didn't know the address, but

that when they got to the residence which was early morning hours, they instructed them to back

up into the driveway. Guadalupe Caro stated that two Hispanic males opened the trunk of the car,

pulled the Victim out and carried her into the house. Guadalupe Caro stated that during the trip

they could hear Victim crying and yelling, and that she had been instructed to tell the Victim that

she was going to shoot her   if she didn't stop crying. Guadalupe Caro stated that she had to tell
her multiple times that she was going to shoot her so that she would stop crying. Guadalupe Caro

stated that after dropping off the Victim, Guadalupe Caro stated "GUERO" aka "JALISCO" later

identified as Edgar Orlando VILLASENOR-SANCHEZ assisted in removing the Victim out of

the trunk of the car and placing her in a residence known to Guadalupe Caro as "Barcelona".

Guadalupe Caro stated that they then dropped off VILLASENOR-SANCHEZ at a hotel off of

Sunland Park Drive. Guadalupe Caro stated that after dropping VILLASENOR-SANCHEZ off,

they stopped at a convenience store and returned to their house at 101 West Savannah Road, La

Mesa New Mexico, where they were detained by DASO Deputies.

       On October 17, 2021, HSI Special Agents reviewed video footage captured by a pole

camera which had been placed to observe potential alien smuggling/narcotics activity at a

residence on Barcelona, El Paso Texas. At 0546 hours, Special Agents observed a light-colored

older model sedan, matching the description of Enrique Lucero' s vehicle, arrive at the Barcelona

residence. Special Agents observe that the vehicle was backed into the driveway, where two

males then opened the trunk of the car. Special Agents observed one of the males reach into the
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trunk of the vehicle and lift out of the vehicle an object which was in the shape and form
                                                                                           of a
person that had a hood over their head. Special Agents observed that the males placed the

suspected person/object over their shoulder and carried them into the residence. The gold/tan

sedan was seen departing the residence shortly after.

        On October 17, 2021, DASO Investigators and HSI Special Agents conducted an

interview of Joel Ceneseros. Joel Ceneseros stated that he worked for "PADRINO" aka Eduardo

Sarellano-Gareja for more than a month. Joel Ceneseros stated that he worked for Sarellano and

his organization trafficking undocumented non-citizens as well as transporting and trafficking in

illicit narcotics. When asked about the Barcelona residence, Joel Ceneseros stated that the

residence was utilized by Sarellano' s organization to store illegal alien and illicit narcotics. Joel

Ceneseros stated that the residence was one of many stash houses and residences utilized by the

organization to facilitate their criminal enterprise.

       Joel Ceneseros went on to say that the kidnapping of the Victim stemmed from him

working with Sarellano. Joel Ceneseros stated he did a couple ofjobs for Sarellano which

included smuggling drugs and people. Joel Ceneseros stated he was given two kilos of cocaine

and told by Sarellano to guard the drugs with is life. Joel Ceneseros stated he turned over the

drugs to law enforcement and made up a fictional story to Sarellano about the drugs being lost.

Joel Ceneseros stated the only people who knew where Victim lived were Joel Ceneseros and his

parents (Guadalupe Caro and Enrique Lucero). Joel Ceneseros stated the Victim had nothing to

with the drugs or Sarellano. Joel Ceneseros stated the Victim was innocent and made inferences

implying his parents made that lie up to get Sarellano off of their back. Joel Ceneseros confirmed

Sarellano's "SOLDIERS" were at his parent's residence, located at 101 West Savannah, La

Mesa New Mexico, because Sarellano believed Joel Ceneseros was back at the residence. Joel
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 Ceneseros stated his mom demanded Joel Ceneseros to go speak with the cartel members, but

Joel Ceneseros refused and left his family at the residence. Joel Ceneseros went on to identify

VILLASENOR-SANCHEZ as one of Sarellano's soldiers.

        On October 20, 2021,   1-ISI   Special Agent and DASO Investigator interviewed Sheyanne

Montoya in reference to the October      1
                                             7th
                                                   2021, kidnapping incident. Sheyanne Montoya began

to state that three individuals (two males and one female) picked her up and took her to a hotel

located near Sunland Park Drive in El Paso, Texas. The three individuals requested for Sheyanne

Montoya to assist in searching for her friend "Joel" (Joel Ceneseros) so the individuals could ask

him a few questions. Specifically, Sheyanne Montoya stated the individuals were looking for

"some product" (cocaine) from Joel Ceneseros. Sheyanne Montoya stated the individuals began

talking to a male subject via a video call, whom she believed was in charge. Sheyanne Montoya

stated that she could not tell them where Joel Ceneseros current location was, but that Joel

Ceneseros had recently taken her to the address on West Union where Sheyanne Montoya

assumed that Joel Ceneseros could possibly be located. Sheyanne Montoya stated she initially

took Guadalupe Caro and Enrique Lucero to the West Union residence on Friday October 15,

2021, in the evening to show both Enrique and Guadalupe the address where Joel Ceneseros

friend lived. Sheyanne Montoya was shown a six-pack photo lineup and identified one of the

male subjects who worked for Sarellano as VILLASENOR-SANCHEZ. Sheyanne Montoya

went on to say that VILLASENOR-SANCHEZ was in communication with Sarellano while both

were staying at a hotel near Sunland Park Drive in El Paso Texas. Sheyanne Montoya went on to

say that VILLASENOR-SANCIiEZ was also at the 101 Savannah address and participated in the

kidnapping of the Victim.
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        On October 22, 2021, HSI Special Agent, DASO Investigator and U.S. Border Patrol

Agent interviewed the Victim. The Victim was provided a six-pack photo lineup, in which the

Victim identified Edgar Orlando Villasenor-Sanchez (AKA: GUERO) as the subject who

initially extracted Victim forcefully from the West Union residence. The Victim stated she was

then taken to Guadalupe Cano's and Enrique Lucero's residence located at 101 Savannah La

Mesa, New Mexico where VILLASENOR-SANCHEZ assisted Guadalupe Cano in duct taping

her mouth, hands, and feet.

        On October 22, 2021, HSI Special Agents and DASO Investigator interviewed

VILLASENOR-5ANCHEZ. In the interview, VILLASENOR-SANCHEZ identified himself as

going by the moniker "GUERO" and "JALISCO". VILLASENOR-SANCHEZ stated he was at

the 101 Savannah residence during the kidnapping of the Victim. VILLASENOR-SANCHEZ

stated he assisted in restraining the Victim by tying her feet and hands while at the Savannah

residence. VILLASENOR-SANCHEZ further stated that he participated in transporting the

Victim to the Barcelona residence in El Paso, Texas, where he assisted in taking the Victim into

the residence.

       VILLASENOR-SANCHEZ was shown a photo lineup of several individuals where he

identified Sheyanne Montoya, who he knew as "shy", and Robin Sarahi Gomez. VILLASENOR-

SANCHEZ stated that both individuals had participated in the kidnapping of the Victim and

present at the 101 Savannah residence.
